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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


JUUL LABS, INC.,

                      Plaintiff,

v.                                                        Civil Action No. 1:18-cv-01516-LO-IDD


THE UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,

                      Defendants.



         NOTICE OF AGREED STIPULATED DISMISSAL WITH PREJUDICE
                      AS TO CERTAIN DEFENDANTS

       Plaintiff Juul Labs, Inc. (“Plaintiff”) and certain Defendants have agreed to terms and

conditions representing a negotiated settlement of this action and have set forth those terms and

conditions in a Confidential Settlement Agreement. Now the parties hereby move for an order

dismissing all claims in this action asserted between them with prejudice.

       This dismissal only pertains to the Defendants indicated herein and does not constitute a

dismissal of all Defendants. The parties hereby agree to waive a hearing on this Motion. The

defendant number provided corresponds to the Defendant’s information in Schedule A to the

Verified Complaint (“Schedule A”):

No.            Seller ID/Defendant Store                         Defendant Email
 2                       fxl-store                           eurohkdapp35@outlook.com
 3                  huanhuanjewelry                          zhishaofeng1990@126.com
 4                        jxhzmy                             zhishaofeng1990@126.com
 5                          jxhz                             zhishaofeng1990@126.com
 6                  candygirljewelry                         zhishaofeng1990@126.com
 8                   fashionmanruan                          zhishaofeng1990@126.com
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No.           Seller ID/Defendant Store                         Defendant Email
 11                    dearpanda                           morning22xx@hotmail.com
 12                  wangjianji123                        h34jian532jiW@hotmail.com
                                                           xuxingxiong2011@163.com
 13                    ltj2tes-1                             sunsanbaby@yahoo.com
                                                          sunshineshinne@outlook.com
 15        Elio Cigarrillo Electronico Store                chengyuefei003@163.com



Date: April 26, 2019                       Respectfully submitted,

                                           /s/ Monica Riva Talley
                                           Monica Riva Talley (VSB No. 41840)
                                           Byron Pickard (VSB No. 47286)
                                           Dennies Varughese, Pharm.D. (pro hac vice)
                                           Nirav N. Desai (VSB. No. 72887)
                                           Nicholas J. Nowak (pro hac vice)
                                           Daniel S. Block (pro hac vice)
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                                           Washington, DC 20005-3934
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                                          Attorneys for Plaintiff




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